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                                                       United States District Court
                                                       Central District of California

 UNITED STATES OF AMERICA vs.                                               Docket No.              CR 07-1142-VBF

 Defendant     2) Gerald Plaze Thomas                                       Social Security No. 9            6   1   5
       Mark Thomas; Larry Coleman; Ronald Woods;
                                                                            (Last 4 digits)
 akas: Reggie Thomas

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER

                                                                                                                     MONTH    DAY     YEAR
              In the presence of the attorney for the government, the defendant appeared in person on this date.     FEB.      18      2009

  COUNSEL           X WITH COUNSEL                                                Duane D. Dade, Retained
                                                                                         (Name of Counsel)

     PLEA          X GUILTY, and the court being satisfied that there is a factual basis for the plea.              NOLO                NOT
                                                                                                                 CONTENDERE            GUILTY
  FINDING           There being a finding/verdict of X GUILTY, defendant has been convicted as charged of the offense(s) of:
                   Use of a Communication Facility in Committing a Felony Drug Offense in violation of 21 U.S.C. §843(b).

JUDGMENT           The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause
AND PROB/          to the contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM             that: Pursuant to the Sentencing Reform Act of 1984, 18 U.S.C. §3553(a) factors, and the Plea Agreement, it is the judgment
  ORDER            of the Court that the defendant, Gerald Plaze Thomas, is hereby committed on counts four and five of the Indictment
                   to the custody of the Bureau of Prisons to be imprisoned for a term of 96 months. This term consists of 48 months
                   on count four and 48 months on count five of the Indictment to be served consecutively to each other.

         It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately.

         All fines are waived as it is found that the defendant does not have the ability to pay.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of one year. This term
         consists of one year on each of counts four and five, all such terms to run concurrently under the following terms and
         conditions:

         1.         The defendant shall comply with the rules and regulations of the U. S. Probation Office and General Order 318;

         2.         The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
                    drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, not to exceed
                    eight tests per month, as directed by the Probation Officer;

         3.         The defendant shall participate in an outpatient substance abuse treatment and counseling program that includes
                    urinalysis, breath, and/or sweat patch testing, as directed by the Probation Officer. The defendant shall abstain
                    from using illicit drugs and alcohol, and abusing prescription medications during the period of supervision;

         4.         During the course of supervision, the Probation Officer, with the agreement of the defendant and defense counsel,
                    may place the defendant in a residential drug treatment program approved by the United States Probation Office
                    for treatment of narcotic addiction or drug dependency, which may include counseling and testing, to determine if
                    the defendant has reverted to the use of drugs, and the defendant shall reside in the treatment program until
                    discharged by the Program Director and Probation Officer;

         5.         As directed by the Probation Officer, the defendant shall pay all or part of the costs of treating the defendant's
                    drug dependency to the aftercare contractor during the period of community supervision, pursuant to 18 U.S.C. §
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                     3672. The defendant shall provide payment and proof of payment as directed by the Probation Officer;

         6.          During the period of community supervision the defendant shall pay the special assessment in accordance with
                     this judgment's orders pertaining to such payment;

         7.          The defendant shall not obtain or possess any driver's license, Social Security number, birth certificate, passport
                     or any other form of identification in any name, other than the defendant's true legal name; nor shall the defendant
                     use, for any purpose or in any manner, any name other than his true legal name or names without the prior written
                     approval of the Probation Officer; and

         8.          The defendant shall cooperate in the collection of a DNA sample from the defendant.

The Court authorizes the Probation Office to disclose the Presentence Report to the substance abuse treatment provider to
facilitate the defendant's treatment for narcotic addiction or drug dependency. Further redisclosure of the Presentence Report by
the treatment provider is prohibited without the consent of the sentencing judge.

It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or before 12
noon, on April 17, 2009. In the absence of such designation, the defendant shall report on or before the same date and time, to the
United States Marshal located at the Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012.

The Bond is ordered exonerated upon surrender of defendant to the U.S. Marshal Service or his designated facility.

The defendant is advised of his right to appeal. The Court GRANTS the government’s request to dismiss the remaining count
(count one).

Due to close family ties, the Court recommends the defendant be housed at a facility located in Southern California.

The Court further recommends that Mr. Thomas be admitted to and participate in the 500 hour drug treatment program (RDAP)
while in the custody of the Bureau of Prisons AND that the defendant be placed in a facility that offers the program.
 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
 Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of supervision,
 reduce or extend the period of supervision, and at any time during the supervision period or within the maximum period
 permitted by law, may issue a warrant and revoke supervision for a violation occurring during the supervision period.




              February 18, 2009
              Date                                                Honorable Valerie Baker Fairbank
                                                                  United States District Judge
 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other
 qualified officer.




              February 18, 2009                             By    Rita Sanchez
              Filed Date                                          Deputy Clerk




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 The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                            STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                            While the defendant is on probation or supervised release pursuant to this judgment:
 1.    The defendant shall not commit another Federal, state or local crime;     10.   the defendant shall not associate with any persons engaged in criminal
 2.    the defendant shall not leave the judicial district without the written         activity, and shall not associate with any person convicted of a felony
       permission of the court or probation officer;                                   unless granted permission to do so by the probation officer;
 3.    the defendant shall report to the probation officer as directed by the    11.   the defendant shall permit a probation officer to visit him or her at any
       court or probation officer and shall submit a truthful and complete             time at home or elsewhere and shall permit confiscation of any
       written report within the first five days of each month;                        contraband observed in plain view by the probation officer;
 4.    the defendant shall answer truthfully all inquiries by the probation      12.   the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                   being arrested or questioned by a law enforcement officer;
 5.    the defendant shall support his or her dependents and meet other          13.   the defendant shall not enter into any agreement to act as an informer
       family responsibilities;                                                        or a special agent of a law enforcement agency without the permission
 6.    the defendant shall work regularly at a lawful occupation unless                of the court;
       excused by the probation officer for schooling, training, or other        14.   as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                             parties of risks that may be occasioned by the defendant’s criminal
 7.    the defendant shall notify the probation officer at least 10 days prior         record or personal history or characteristics, and shall permit the
       to any change in residence or employment;                                       probation officer to make such notifications and to conform the
 8.    the defendant shall refrain from excessive use of alcohol and shall not         defendant’s compliance with such notification requirement;
       purchase, possess, use, distribute, or administer any narcotic or other   15.   the defendant shall, upon release from any period of custody, report
       controlled substance, or any paraphernalia related to such substances,          to the probation officer within 72 hours;
       except as prescribed by a physician;                                      16.   and, for felony cases only: not possess a firearm, destructive device,
 9.    the defendant shall not frequent places where controlled substances             or any other dangerous weapon.
       are illegally sold, used, distributed or administered;


 G     The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).




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    STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the
 fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1).
 Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining
 to restitution , however, are not applicable for offenses completed prior to April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall
 pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing
 address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material
 change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required
 by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion
 or that of a party or the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18
 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

           Payments shall be applied in the following order:

                       1. Special assessments pursuant to 18 U.S.C. §3013;
                       2. Restitution, in this sequence:
                                Private victims (individual and corporate),
                                Providers of compensation to private victims,
                                The United States as victim;
                       3. Fine;
                       4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                       5. Other penalties and costs.




                            SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

          As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing
 credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate
 financial statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the
 defendant shall not apply for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other
 pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all
 other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500
 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                             These conditions are in addition to any other conditions imposed by this judgment.




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                                                              RETURN

 I have executed the within Judgment and Commitment as follows:
 Defendant delivered on                                                           to
 Defendant noted on appeal on
 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                           to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                               United States Marshal


                                                         By
            Date                                               Deputy Marshal




                                                          CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my
 office, and in my legal custody.
                                                               Clerk, U.S. District Court


                                                         By
            Filed Date                                         Deputy Clerk




                                          FOR U.S. PROBATION OFFICE USE ONLY


Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend

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the term of supervision, and/or (3) modify the conditions of supervision.

         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


         (Signed)
                Defendant                                                   Date




                   U. S. Probation Officer/Designated Witness                      Date




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